                                                           Jun 08, 2020

                                                         s/ JeremyHeacox




                                         20-M-310 (SCD)




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 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

       I, David Kowalski, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit for the limited purpose of establishing probable cause for the

issuance of a criminal complaint and arrest warrant charging defendant Jeremiah Belen (DOB:

XX/XX/1981) with violations of aiming a laser pointer at an aircraft, in violation of Title 18,

United States Code, Section 39A.

       2.      I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI) and have

been so employed since April 2009. Since August 2018, I have been assigned to the Milwaukee

FBI Violent Crime Task Force. I have participated in numerous complex narcotics, money

laundering, violent crime, armed bank robbery, and armed commercial robbery investigations in

violation of Title 21, United States Code, Sections 841(a)(1), 843(b) and 846, and Title 18, United

States Code, Sections 924(c), 1951, 1956, 1957, 2113, and other related offenses. I have employed

a wide variety of investigative techniques in these and other investigations, including but not

limited to, the use of informants, wiretaps, cooperating defendants, recorded communications,

search warrants, surveillance, interrogations, public records, DNA collection, and traffic stops. I

have also received formal training regarding the same.

       3.      The facts in this affidavit come from my personal observations, training,

experience, and/or information obtained from other law enforcement officers and/or witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for the requested

warrant and does not set forth all of my knowledge about this matter.

       4.      Based on the facts set forth in this affidavit, there is probable cause to believe that

between on or about May 31, 2020, through June 7, 2020, in the State and Eastern District of



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Wisconsin and in the special aircraft jurisdiction of the United States, Jeremiah Belen (DOB

XX/XX/1981) has committed violations of Title 18, United States Code, Section 39A (Aiming a

laser pointer at an aircraft).

                                        PROBABLE CAUSE

        5.      The probable cause for this warrant comes from suspected violations of 18 U.S.C.

§ 39A, which reads, in part:

        (a) Offense. —

                Whoever knowingly aims the beam of a laser pointer at an aircraft in the special

        aircraft jurisdiction of the United States, or at the flight path of such an aircraft, shall be

        fined under this title or imprisoned not more than 5 years, or both.

        (b) Laser Pointer Defined. —

                As used in this section, the term “laser pointer” means any device designed or

        used to amplify electromagnetic radiation by stimulated emission that emits a beam

        designed to be used by the operator as a pointer or highlighter to indicate, mark, or

        identify a specific position, place, item, or object.

        6.      On the evening of May 31, 2020, FBI SA Brian Blake was operating an FBI aircraft

over Milwaukee, Wisconsin, in the special aircraft jurisdiction of the United States. Investigative

Support Specialist (ISS) Brandon Cramin was also aboard the aircraft serving as the Optical Sensor

Operator. During that flight, SA Blake and ISS Cramin observed a green laser targeting their

aircraft from the ground in the vicinity of latitude/longitude: 43.0357.17, -87.5527.12. This area

is approximately bordered by North Avenue, Burleigh Street, North 10th Street, and North 14th

Street, all within the city of Milwaukee. Although ISS Cramin observed the laser, he was unable




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to orient his forward-looking infrared (FLIR) camera system at the source of the laser before it

disappeared.

       7.      In the late evening hours of June 3, 2020, and the early morning hours of June 4,

2020, SA Blake and ISS Cramin were operating the same FBI aircraft over Milwaukee, Wisconsin,

when they again observed a green laser targeting them. ISS Cramin maneuvered the FLIR camera

to capture the origin of the laser. Using this system, both ISS Cramin and SA Blake were able to

observe the laser originating from one of three individuals located on the lower porch of a residence

located on the northwest corner of N 1st Street and W. Chambers Street, in the city of Milwaukee.

On June 6, 2020, law enforcement officers travelled to this intersection during daylight hours and

compared the footage obtained from the FLIR camera with the actual residence located there and

confirmed they were consistent in appearance with one another. The residence at this location,

which matched the FLIR footage, had the address of 3001 N. 1st Street, Milwaukee, Wisconsin.

       8.      In the evening hours of June 4, 2020, SA Blake and ISS Cramin were operating the

same FBI aircraft over Milwaukee, Wisconsin, when they again observed a green laser targeting

them. SA Blake and ISS Cramin were not able to determine the coordinates of the source of this

laser, but they observed that it was being emitted in the general vicinity of protests taking place at

North 76th Street and West Center Street.

       9.      When asked to describe how the laser affected the aircraft and its occupants, ISS

Cramin stated there were two types of incidents in which the plane was targeted by the laser. In

some instances, the laser would hit the wing of the plane and only a green dot would appear. In

other instances, the laser would hit the windshield of the plane and illuminate the cockpit. ISS

Cramin explained that the laser had the potential to blind or cause loss of night vision to either

himself or pilot SA Blake.



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        10.     SA Blake separately communicated that the lasers which had been directed at the

aircraft had the potentially to create a deadly situation since it interfered with his ability to see his

instrumentation. On June 5, 2020, SA Blake and ISS Cramin began wearing specialized goggles

during flight. These goggles were designed to minimize the effects of a laser being shone in

cockpit and in the pilot’s eyes.

        11.     On June 1, June 3, and June 4, 2020, Wisconsin National Guard (WNG) pilot Chief

Warrant Officer (CWO) Lucas Marks, was flying a WNG UH-60 Blackhawk helicopter over

Milwaukee, Wisconsin, in the special aircraft jurisdiction of the United States. During each of

these flights, CWO Marks’ aircraft was targeted multiple times by a green laser originating from

the area to the East-southeast of the Milwaukee Police Department (MPD) District 5 building,

which is located at 2920 Vel R. Phillips Avenue in Milwaukee. The residence located at 3001 N.

1st Street, Milwaukee, WI is approximately 0.4 miles to the East-northeast of the MPD District 5

building.

        12.       When asked to describe how the laser affected the aircraft and occupants, CWO

Marks stated it is “definitely not good” when the helicopter is hit by a laser. CWO Marks noted

that targeting aircraft with a laser had the potential to cause an incident, as it can be blinding.

Whenever CWO Marks’ helicopter was hit with the laser in these recent evenings, CWO Marks

was forced to look away and maneuver the aircraft into a new position. According to CWO Marks,

the laser altered, but not stopped, the mission of the Wisconsin National Guard.

        13.     On the evening of June 7, 2020, law enforcement on the ground observed two

separate vehicles parked near 3001 N. 1st Street bearing the following Wisconsin license plates:

522YRB (which lists to a 2010 Mercury Milan); and ADR4012 (which lists to a red 2002 Audi




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A6). Both vehicles are registered to Jeremiah Belen (Belen) at 3001 N. 1st Street, Milwaukee,

Wisconsin. The Mercury Milan is registered to both Belen and Marysol Belen.

       14.    Also on the evening of June 7, 2020, SA Blake and ISS Cramin were operating the

same FBI aircraft over Milwaukee, when they again observed a green laser targeting them. ISS

Cramin maneuvered the FLIR camera to capture the origin of the laser. Using this system, both

ISS Cramin and SA Blake were able to observe the laser emitting from one of two individuals

located on the lower porch of the residence located at 3001 N. 1st Street, Milwaukee. Law

enforcement officers on the ground travelled to this address and subsequently observed an

unidentified white female and a male matching the description of Jeremiah Belen, who were both,

at separate times, seen pointing a handheld object toward the sky. At this time, both vehicles

registered to Belen were still parked near the residence. Law enforcement officers, using a night

vision camera, captured the unidentified female in the photograph below:




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       15.     Just before midnight on June 7, 2020, law enforcement officers observed the

unidentified female and Belen enter the residence located at 3001 N. 1st Street, Milwaukee, through

the door located on the lower porch deck.

                                         CONCLUSION

       16.     Based on the information and facts above, I submit that there is probable cause to

believe that Jeremiah Belen has violated Title 18, United States Code, Section 39A, in the State

and Eastern District of Wisconsin and the special aircraft jurisdiction of the United States.




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